Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 1 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18765627953@s.whatsapp.net
Budman

 

13476338544@s.whatsapp.net
NEW RULES (owner)

Conversation - Instant Messages (5)
Ww Ai 18765627953 (@s.whatsapp.net Budman 2/28/2018 5:18:08 PM(UTC+0)

Attachments:

https://mmg-fna.whatsapp.net/d/f/AvSDcYv-
KWIMjInz_tJqWsdrikJ6mnfiT HHiUKHenSORA.en
c

d3aebea9-7cc0-4969-938a-4ab62e78 1410

 

Ww 13476338544 @s.whatsapp.net NEW RULES 3/1/2018 1:21:57 AM(UTC+0)

Dixonreggie1296
1296pacific

 

7 13476338544 @s.whatsapp.net NEW RULES 3/1/2018 1:23:14 AM(UTC+0)

Jack phone number is 7027262033

 

 

 

 

 

Ww Fy 18765627953 @s.whatsapp.net Budman 3/1/2018 2:01:14 AM(UTC+0)
Chop

Ww r : System Message System Message 332018 6:13:17 PM(UTC+0)
Missed Voice Call

 

 

 

 

CELL_00000001
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 2 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18765627953@s.whatsapp.net
Budman

 

13476338544@s.whatsapp.net
NEW RULES (owner)

Conversation - Instant Messages (6)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww Ai System Message System Message 712712018 10:37:41 AM(UTC-6)
Missed Voice Call

Fi System Message System Message 7/27/2018 10:38:32 AM(UTC-6)
Missed Voice Call

Ww Fi System Message System Message 72712018 12:14:42 PM(UTC-6)
Missed Voice Call

Ww ' 18765627953 @s.whatsapp.net Budman 7/27/2018 2:46:24 PM(UTC-6)
1ze0827 74155097523

Ww 13476338544 @s.whatsapp.net NEW RULES 712712018 2:52:46 PM(UTC-6)

Up top
Ww Fi System Message System Message 7/27/2018 9:28:12 PM(UTC-6)

Missed Voice Call

 

 

 

 

CELL_00000002
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 3 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18765627953@s.whatsapp.net
Budman

 

13476338544@s.whatsapp.net
NEW RULES (owner)

Conversation - Instant Messages (7)

Ww System Message System Message 8/20/2018 5:34:17 PM(UTC+0)

Missed Voice Call

 

 

 

we 13476338544 @s.whatsapp.net NEW RULES 8/20/2018 5:35:08 PM(UTC+0)

 

Attachments:

 

https://mmg-fna.whatsapp.net/d/f/Ao1-
yiqN 108Pyiaipel_zZWRkskQHZREFbWPiQjQTM

uva.enc
87522790-8264-4921-af7b-c67cd9c2566a_jpg

 

 

 

WwW 13476338544 @s.whatsapp.net NEW RULES 8/20/2018 5:35:27 PM(UTC+0)

 

Attachments:

   

https://mmg-

fna.whatsapp.net/d/ffAnhutay ThejAAIKjn1 sI5B
mC4D5fXMesjt-M6DmvVMaq.enc
£049202c-6816-4cd9-81b9-1647626944b3 jpg

 

 

 

Ww : 18765627953 @s.whatsapp.net Budman 8/20/2018 6:25:19 PM(UTC+0)

450 Chaplin lane Estes park co 80517

 

 

 

 

 

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 9/20/2018 8:32:39 PM(UTC+0)
Call me
+“ ; 18765627953 @s.whatsapp.net Budman 8/21/2018 4:17:44 PM(UTC+0)
782401389797

 

 

CELL_00000005
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 4 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18765627953@s.whatsapp.net
Budman

 

13476338544@s.whatsapp.net
NEW RULES (owner)

Conversation - Instant Messages (10)
Ww 13476338544 @s.whatsapp.net NEW RULES 8/22/2018 1:55:10 PM(UTC+0) A

Attachments:

A

https://mmg-
fna.whatsapp.net/d/fAhZzeP1srxCTwavuW_BL
ahVV DiDOdRRyGsJnfXch_49H.enc
1ebee5bb-f1 76-4586-b062-923696c55932 jpg

 

 

 

 

 

 

 

WwW 18765627953 @s.whatsapp.net Budman 8/22/2018 6:56:49 PM(UTC+0)
782425727628
we 13476338544 @s.whatsapp.net NEW RULES 8/22/2018 7:06:08 PM(UTC+0)
Chop
Ww 13476338544 @s.whatsapp.net NEW RULES 8/23/2018 12:36:43 PM(UTC+0)

Me get it but me no was Carlene no

 

 

 

 

OOo

 

 

 

+e 13476338544 @s.whatsapp.net NEW RULES 8/23/2018 12:36:47 PM(UTC+0)
Waa :
Ww 13476338544 @s.whatsapp.net NEW RULES 8/23/2018 12:36:50 PM(UTC+0)
She here ok
Ww System Message System Message 8/23/2018 1:12:45 PM(UTC+0)

Missed Voice Call

 

 

 

* 13476338544 @s.whatsapp.net NEW RULES 8/24/2018 3:06:54 AM (UTC+0)

oy

 

Attachments:

https://mmg-
fna.whatsapp.net/d/f/AswleUOfE3_InxPDmMQ9c2
2YHR62YlfvzP6T RGdisil By enc

67cece4 1-0b0d-4861-912e-0de2d0d39ab7.mp4

CELL_00000008
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 5 of 18

 

 

 

Ww 18765627953 (@s.whatsapp.net Budman 8/29/2018 4:22:19 PM(UTC+0)
782531341581
+ 13476338544 @s.whatsapp.net NEW RULES 8/29/2018 4:27:32 PM(UTC+0) Fi
Kool

 

 

 

CELL_00000009
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 6 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (5)
7 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 3:27:56 PM(UTC+0) Ai

Attachments:

https://mmg-

fna.whatsapp.net/d/fAkG SjOMiBSeoBCOWQoUP
d1QXk6LQHKa4BU_AEdE3KCYim.enc
817dee92-cd0e-4df4-9165-19ebe045a948 mp4

 

 

 

 

 

 

Ww 18767743214 @s.whatsapp.net Fry 9/4/2018 4:44:41 PM(UTC+0)

782608227498

Ww 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 4:44:50 PM(UTC+0) Ay

Mad rass

 

 

 

 

 

Ww 18767743214 @s.whatsapp.net Fry 94/2018 4:45:02 PM(UTC+0)

Ahh

Ww 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 11:07:05 PM(UTC+0) Ai

Attachments:

 

 

 

 

 

 

https://mmg-
fna.whatsapp.net/d/ffAkmu9kckxSBeYL4minam
diap51FX1J6IpYd73¥gX71b3.enc
f079138d-60eb-47dd-86d2-58d7 19f2ad30.mp4

 

 

 

CELL_00000010
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 7 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (6)

 

Ww System Message System Message 9/5/2018 11:20:35 PM(UTC+0)

Missed Voice Call

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 9/6/2018 2:27:01 PM(UTC+0)

 

 

204 fifth avenue Toms River New Jersey 08757

 

 

 

 

 

 

 

 

 

 

Ww 18767743214@s.whatsapp.net Fry 9/6/2018 7:42:52 PM(UTC+0)
|
782658697114
“W 13476338544 @s.whatsapp.net NEW RULES 9/6/2018 7:51:32 PM(UTC+0)
Up top
Ww : 18767743214 @s.whatsapp.net Fry 9/6/2018 10:53:21 PM(UTC+0)

 

 

Send the thing

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 9/6/2018 11:15:27 PM(UTC+0)

 

Attachments:

https://mmg-
fna.whatsapp.nel/d/fAijYdDQOYp5S10DHSu_|
OzJISRCGNGZR2_ROvxBPvcaU.enc
¢20053¢3-13fd-492a-8026-50058596638e. jpg

 

 

 

 

CELL_00000011
USDC Colorado Page 8 of 18

Case 1:19-cr-O0098-CMA Document 89-1 Filed 01/27/20

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants
18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (3)

7 i System Message System Message

Missed Voice Call

 

9/20/2018 4:49:57 PM(UTC-6)

 

Ww 18767743214 @s.whatsapp.net Fry 9/25/2018 3:06:23 PM(UTC-6)

782940407140

 

 

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 9/27/2018 9:03:39 PM(UTC-6)

Attachments:

s

Se an
8

https://mmg-
fna.whatsapp. ee ee

KHTpUp5SHZjdFm-vMyhfRePm.en
abe58330-91 df-437a-9264.- "d020a6d82d58 jpa

 

 

 

CELL_00000013
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 9 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants
18763086329@s.whatsapp.net

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (15)

 

Ww i 18763086329 @s.whatsapp.net 9/29/2018 6:38:08 PM(UTC+0)

 

Attachments:

https://mmg-

fna.whatsapp.netid/fAny 3to0ssWBOUCdTX2riL
8W7hdJullF-Qio-hwpeQGVM.enc
ece2d567-2c80-4bdd-95e5-3f7 2d56e24eb.jpg

 

 

 

 

 

* 13476338544 @s.whatsapp.net NEW RULES 10/2/2018 9:16:34 AM(UTC+0)

 

Attachments:

First break

https://mmg-

fna.whatsapp.nel/d/fAlQV GDGIWizwZWs7QqQ
Yv-KSJ_g4wiqx6-M4GKDXSEFr.enc
db4df95b-0990-4 ebf-a0c1-a7b93adbea 8 jpg

 

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 10/2/2018 10:39:47 AM(UTC+0)

 

Attachments:

https://mmg-
fna.whatsapp.net/d/f/AlSqtPDXQ5jFsyNL_uilJg5
ooJrRiXsdfl71W5t<Pou.enc

937 fad98-2def-423b-ac2f-77 cea8ab666c.jpg

 

 

 

 

 

 

 

 

* Ai 18763086329@)s.whatsapp.net 10/2/2018 9:27:05 PM(UTG+0)
Yow
7 13476338544 @s.whatsapp.net NEW RULES 10/2/2018 9:34:58 PM(UTC+0)
Yo
* 18763086329@s.whatsapp.net 10/2/2018 9:39:09 PM(UTC+0)

1225 west eisen hower blvd

 

CELL_00000016
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 10 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

BA
BX
BA
BX

fass2rass@hotmail.com
bruce luton” (owner)

+18763086329
X-Budmar’

+13476338544
bruce luton” (owner)

+18764965900

Conversation - Instant Messages (5)

 

 

 

 

 

 

 

 

 

 

 

Ww +13476338544 bruce luton 9/25/2018 12:30:24 PM(UTC+0) Ai
Aznarh3159@gmail.com
@je263660
Ww +18763086329 X-Budman 10/2/2018 11:06:38 PM(UTC+0)
450 chapin lane Estes Park co 80517
Ww +18763086329 X-Budman 10/3/2018 8:30:14 AM(UTC+0)
Yow
Ww +13476338544 bruce luton 10/4/2018 2:32:14 PM(UTC+0) Fi
Chop
WwW +13476338544 bruce luton 11/23/2018 6:01:13 PM(UTC+0) Fi
204 fifth avenue Toms River New Jersey 08757

 

 

 

 

CELL_00000020
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 11 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (5)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 i System Message System Message 10/20/2018 10:09:20 AM(UTC-6)
Missed Voice Call

Ww 187677432 14@s.whatsapp.net Fry 10/22/2018 10:21:20 AM(UTC-8)
783366336132

Ww 13476338544 @s.whatsapp.net NEW RULES 10/22/2018 10:21:38 AM(UTG-6)

Xmax dat

“Ww 18767743214 @s.whatsapp.net Fry 10/22/2018 10:21:53 AM(UTG-6)
Ahh

Ww Fi System Message System Message 10/23/2018 10:41:31 AM(UTC-6)
Missed Voice Call

 

 

 

CELL_00000024
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 12 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (4)

 

Ww i System Message System Message 10/23/2018 4:47:04 PM(UTC+0)

Missed Voice Call

 

 

 

 

 

 

 

 

 

 

 

Ww 18767743214@s.whatsapp.net Fry 10/30/2018 2:39:14 AM(UTC+0)
783488291612
Ww 13476338544 @s.whatsapp.net NEW RULES 10/30/2018 3:07:18 AM(UTC+0)
Maddddddddd
Ww System Message System Message 10/30/2018 7:32:34 PM(UTC+0)

Missed Voice Call

 

 

CELL_00000026
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 13 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (9)

 

Ww i System Message System Message 10/30/2018 7:32:34 PM(UTC+0)

Missed Voice Call

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww 18767743214 @s.whatsapp.net Fry 11/5/2018 7:54:36 PM(UTC+0)
1ze082770190919671
Ww 13476338544 @s.whatsapp.net NEW RULES 11/5/2018 7:54:51 PM(UTC+0)
Fed?
“W 18767743214 @s.whatsapp.net Fry 11/5/2018 7:54:57 PM(UTC+0)
U
Ww 13476338544 @s.whatsapp.net NEW RULES 11/5/2018 7:55:09 PM(UTC+0)

Ok skirt a Jer?

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww 18767743214@s.whatsapp.net Fry 11/5/2018 7:55:18 PM(UTC+0)
Yea
Ww 13476338544 @s.whatsapp.net NEW RULES 11/5/2018 7:55:23 PM(UTC+0)
Ahh
Ww 13476338544 @s.whatsapp.net NEW RULES 11/5/2018 7:57:14 PM(UTC+0)
It na show
Ww Fi System Message System Message 11/6/2018 2:23:08 PM(UTC+0)

Missed Voice Call

 

 

 

CELL_00000028
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 14 of 18

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (7)

 

7 System Message System Message 11/6/2018 7:26:20 AM(UTC-7)

Missed Voice Call

 

 

Ww 13476338544 @s.whatsapp.net NEW RULES 11/6/2018 1:48:57 PM(UTC-7)

 

 

443 Tompkins ave Brooklyn n.y 11216

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ww 18767743214@s.whatsapp.net Fry 11/6/2018 1:52:27 PM(UTC-7)
|
Tom white
Ww 13476338544 @s.whatsapp.net NEW RULES 11/6/2018 1:52:47 PM(UTC-7)
Ok
Ww r 18767743214 @s.whatsapp.net Fry 11/7/2018 9:48:20 AM(UTC-7)
1ze082770190958192
Ww 13476338544 @s.whatsapp.net NEW RULES 11/7/2018 9:48:42 AM(UTC-7)
Mad
Ww : 18767743214@s.whatsapp.net Fry 11/8/2018 12:30:19 PM(UTC-7)
1ze082770154467290

 

 

 

 

CELL_00000029
Case 1:19-cr-O0098-CMA Document 89-1 Filed 01/27/20

=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

USDC Colorado Page 15 of 18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Timeline (14)
# Type Direction aan Timestamp Party Description Deleted
1 Instant Incoming 1 11/21/2018 From: i i :
Messages 3:54:38 18763086329@s.whatsa Gpaleticcestt “sae: ra
AM(UTC +0) pp.net f6ca357da5b2.mp4
2 SMS Outgoing 11/23/2018 To: +8763086329 x- 172-42 Brocher Rd Jamaica queens 11343
Messages 3:24:39 Budman
PM(UTC +0)
3 SMS Outgoing 11/23/2018 To: +8763086329 x- 172-42 Brocher Rd Jamaica queens 11343
Messages 4:08:04 Budman
PM(UTC +0)
4 SMS Outgoing 11/23/2018 To; +8763086329 x- 172-42 Brocher rd Jamaica queens
Messages 4:11:44 Budman
PM(UTC +0)
5 SMS Outgoing 11/23/2018 To: +8763086329 X- 172-42 Brocher rd Jamaica queens 11343
Messages 4:33:38 Budman
PM(UTC +0)
6 SMS Outgoing 11/23/2018 To: +18763086329 X- 172-42 Brocher rd Jamaica queens 11343
Messages 4:35:42 Budman
PM(UTC +0)
7 Instant Incoming 11/23/2018 From: +18763086329 X- | 773793266629
Messages 11:45:18 Budman
PM(UTC+0)
8 Instant Incoming 11/24/2018 From: Soon let u get it
Messages 2:44:37 18763086329@s.whatsa
AM(UTC+0) pp.net
9 SMS Outgoing 11/27/2018 To: +18763086329 X- 443 Tompkins Ave Brooklyn New York 11216
Messages 7:20:52 Budman
PM(UTC+0)
10 SMS Outgoing 11/27/2018 To: +18763086329 X- 443 Tompkins Ave Brooklyn New York 11216
Messages 7:22:31 Budman
PM(UTC+0)
11 SMS Outgoing 11/27/2018 To: + 18763086329 X- 443 Tompkins Ave Brooklyn New York 11216
Messages 7:25:04 Budman
PM(UTG+0) |
12 /SMS Outgoing 11/27/2018 To: +18763086329 X- 443 Tompkins Ave Brooklyn New York 11216
Messages 7:28:55 Budman use this
PM(UTC +0)
13 Instant Incoming 11/28/2018 From: +18763086329 X- | 784048214190
Messages 4:06:29 Budman
PM(UTC +0)
14 Instant Incoming 11/29/2018 From: Kimisha Bently
Messages 1:14:40 18763086329@s.whatsa
AM(UTC +0) pp.net

 

 

 

 

 

 

 

CELL_00000030

 
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 16 of 18

UNCLASSIFIED

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

 

FBI Miami
2030 SW 145th Avenue
Miramar, FL 33027

File Number: 092U-DN-3025524
Requesting Official(s) and Office(s): SA Amy Howard (DN)

Task Number(s) and Request ID: 1065793, 1044593

Date Completed: 10/24/2019

Name and Office of Linguist(s): CL Paulette D’Souza (MM)
Name and Office of Reviewer(s): CL Kissuam S. Hudson (MM)

Source Language(s):

English Caribbean Creole

Target Language: English
Source File Information
Name of Audio File or CD: Dobson Audio

—Date:

Participants:
RD

Abbreviations:
UI
[]

03/06/2018, 02/18/2018, 07/24/2018, 09/27/2018,
10/02/2018, 10/04/2018, 01/12/2019, 01/22/2019

VERBATIM TRANSLATION

Rayjay Dobson AKA Rajay

Unintelligible
Translator’s note and Exegesis

UNCLASSIFIED

INV_00002595
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 17 of 18

UNCLASSIFIED

File: 092U-DN-3025524
Task: 1065793

DobsonAudio8765627953Budman0306201821sec

RD:

[Indistinct voices in background]

No, man. It’s thing there, it’s the other two. The other... he got the other two, you know?
Boy, that’s what I called him on and he said he had given a man a-a-a skirt...the skirt
already, to deal with. You understand? So, what he said he was going to do, he is going to
max out the card and close them, and order fo-four more. You understand? So, he’s here
with me, man. You’re going to get one of them, man.

DobsonAudio8765627953 Budman072420186sec

RD:

Yeah, it’s the thing that you were-that you were to send back to the dogs, the three bills.
Send it to that name. [Tapping sound]

DobsonAudio8763086329x-budman0927181 lsec

RD:

[Indistinct voices in background]

Yeah, supposed to, because it was the same one you had done it to the last time. You
know? Remember that is the one it went to the last time. We had put the grand to that. A
grand or was it fifteen bills? One of them. Fifteen bills, eh?

DobsonAudio8763086329x-budman100220185sec

RD:

[Music playing]

Yeah, doing the road, general. Nebraska here now.

DobsonAudio8763086329xbudman02181821sec

RD:

[Traffic noises]

Eh, because I was dealing with the thing, you understand? I could make her get some
bills. You understand? Because right now I do not have anything else dealing with. But
true, I have not given that to the dog yet, that is our nigga down there. You understand? |
know I could let her get some bills now.

l
UNCLASSFIED

INV_00002596
Case 1:19-cr-00098-CMA Document 89-1 Filed 01/27/20 USDC Colorado Page 18 of 18

UNCLASSIFIED
File: 092U-DN-3025524
Task: 1065793

DobsonAudio8767707685MaxBird01121950sec

RD: Yeah, so that’s why I’m letting him know that, if he looks at them, two of them are fi...
One of them is five for the card, and he gets a solid five. So, the most he could get is nine
bills now, you understand? Or you send him a-an eight fifty, anything like that. Yeah, and
you still have back five... How much do you have left back there for me? It’s supposed
to be five you have left back there because you had... What? Nineteen. You sent two to
me. You understand? And you had back seventeen, and you stayed like that, and sent the-
the-the other two again. You understand? Today. So, | got four in all, you gave the nigga
ten. Eh-hm. So, you’re supposed to have five left back there for me. So, you can send him
a-an eight fifty, bad man, out of it because it’s one grand he would have left back there.
So, if he gets eight fifty, he can’t complain.

DobsonAudio8767707685MaxBird01221920sec
[Indistinct voices in background]

RD: God knows, dog. You understand? That’s what happens, you know, dog. You
understand? If the weather was good, the journey would be longer, long just the same.
You know the weather is bad, dog, but, everything happens for a reason because you

know that less of them and things the same way. You understand? So, continue taking
care of yourself, brother. You understand?

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RD: Yeah my general, just let her give you that right now. [UI] So, it can be ready by
tomorrow.

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